                     Case 1:07-cv-00241-L-LDA                  Document 1-3                Filed 06/28/2007                Page 1 of 2


      (a) P     L      m SAM and TONY M, by Next Friend                    DErnlrrryTS DOiYkLd) L CARCIERI; JANE A, HAYWARD;
                                                                                       and PATRICLA MA-        htbcirefkirl
                         Gregory C. E K i et a t                                       apeaiu




 IL BASIS OF JURISDICTION              pkeanmTinCkreEoxoaiyf




zJ-    u.s.Gwmmmit       [74 DIvcRay
         Defendant            ( ~ C ~ u f P a m e s m I t e m m )




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                    Case 1:07-cv-00241-L-LDA                                Document 1-3                          Filed 06/28/2007                        Page 2 of 2




I   V. ORIGIN (Place an "Xn In One Box Only)


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       Original          Removed from                                      Reinstated or
       Proceeding        State Court             Appellate Court           Reopened                another district          Litigation            From Magiseate Judgment
                                                                                                      (Specify)

                                        Cite the US. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       42 U.S.C.             1983
    VI. CAUSE OF ACTION
                                        Brief description of cause:
                                       Plaintiffs, children in state foster care custody, seek declaratory and injunctive relief against Defendants for systemic
                                       abuses of their constitutional and statutory rights to safety and well-being while in state custody.



    VII. REQUESTED IN                         Check if this is a Class Action                DEMAND $                                      JURY DEMAND:        yes          NO
         COMPLAINT                            Under F.R.C.P. 23                                                                           (Check YES&o if demanded in complaint)




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    VIII. RELATED CASE@)
          I F ANY                    JUDGE     Ronald R. Lagueux                                                   DOCKET NUMBER             1:86-CV-00723-L

            Because of the need for accurate and complete information, you should ensure the accuracy ofthe information provided prior to signing the form.



                                  6             s '07                                                                            L\-
Date                                                                                             ~ i g n z r of
                                                                                                             e Attorney of Record




                                                   INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                                 Authority for Civil Cover Sheet

            The JS-44civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conferenceof the United States in September 1974, is required for the use of the Clerk
of Court for the purpose of initiating the civil docket sheet. Consequently a civil cover sheet is submitted to the Clerk ofcourt for each civil complaint filed. Listed below
are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the Cover Sheet.

            I.        COUNTY OF RESIDENCE OF FIRST LISTED PLAINTLFFIDEFENDANT@) County ofresidence: For each civil case filed, except US. plaintiff
                      cases, enter the name of the county where the first listed plaintiff resides at the time of filing. In U.S. plaintiff cases, enter the name of the county in
                      which the first listed defendant resides at the time of filing. (NOTE: In land condemnation cases, the county of residence of the "defendant" is the
                      location of the tract of land involved)

            111.      CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed & if diversity of citizenshipwas selected as the Basis of Jurisdiction under
                      Section 11.

            IV.       NATURE OF SUIT: Place an X in the appropriate box. Make sure to select the Nature of Suit 60m the category which best describes the prinrary cause
                      of action found in your complaint. You must select only one nature ofsuit.

            VIII.     RELATED CASES, IF ANY: This section of the JS-44 is used to reference related pending cases if any. If there are related pending cases, insert the
                      docket numbers and the correspondingjudge names for such cases.




                                                                                FOR OFFICE USE ONLY



I   Receipt #                  Amount                          Applying IFP                               Judge                                         Mag. Judge
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